






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00598-CR






Paul J. Stautzenberger, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW OF COMAL COUNTY


NO. 2003CR0882A, HONORABLE BRENDA CHAPMAN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Paul J. Stautzenberger was convicted for driving without a license and fined $200.
See Tex. Transp. Code Ann. § 521.025(a) (West 1999).  He represents himself on appeal, as he did
at trial.  No brief was tendered for filing.  See Tex. R. App. P. 38.8(b)(4).

We have examined the record and find no fundamental error or other matter that
should be considered in the interest of justice.  The judgment of conviction is affirmed.


				___________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   May 26, 2005

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